                                         July 31, 2020

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Giuffre v. Maxwell,
              Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Pursuant to the Court’s order dated July 31, 2020 (ECF No. 1091), Plaintiff is filing
renewed versions of the materials previously sealed at ECF Nos. 235-13 and 249-13 as attachments
hereto.




                                            Sincerely,

                                            /s/ Sigrid S. McCawley
                                            Sigrid S. McCawley, Esq.



       cc: Counsel of Record (via ECF)
